Case 16-13048-RBR Doc 1 Filed 03/02/16 Page 1 of 10

Fi|| in this information to identify your cases

 

United States Bankruptcy Court for the:

SOUTHERN D|STRICT OF FLOR|DA, FORT LAUDERDALE D|V|S|ON

Case number(if known) Chapter 1 1

 

|:l Check if this an amended
filing

 

 

Oflicia| Form 201
Voluntary Petition for Non-lndividuals Filinglor Bankruptcy 12/15

|f more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known). Fol
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

1. Debtor's name Transportation Specia|ist Group, |nc.

 

2. All other names debtor
used in the last 8 years

|nc|ude any assumed
names, trade names and
doing business as names

 

3. Debtor's federal Emp|oyer
|dentification Number 45'1 332917

 

 

 

(E|N)
4. Debtor's address principal place of business Mai|ing address, if different from principal place of
business

2170 Blount Rd
Pompano Beach, FL 33069-511 1
Number, Street, City, State & ZlP Code P.O. Box, Number, Street, City, Stafe & Z|P Code
Broward Location of principal assets, if different from principal
County place of business

2170 Blount Rd Pompano Beach, FL 33069-51 11
Number, Street, City, State & ZlP Code

 

5. Debtor's website (URL)

 

 

6‘ Type °f debt°r . Corporation (inc|uding Limited Liabi|ity Company (LLC) and Limited Liability Partnership (LLP))

l:l Partnership
|'_`l Other. Specify:

 

 

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Debfor Transportation Specia|ist Group, |nc. Case number ("fk"vw")

Name

 

7. Describe debtor's business A. Check one:
l:l Health Care Business (as defined in 11 U.S.C. § 101 (27A))
EI Sing|eAsset Real Estate (as defined in 11 U.S.C. § 101 (51B))
|Zl Railroad (as defined in 11 u.s.C. § 101 (44))
El Stockbroker (as defined in 11 U.S.C. § 101(53AB))
El Commodity Broker (as defined in 11 u.s.C. § 101 (6))
l:| C|earing Bank (as defined in 11 U.S.C. § 781 (3))

l Nene@f,,the,,ab°v¢

     

l

 

B. Check all that apply

I:l Tax-exempt entity (as described in 26 U.S.C. §501)

[:l lnvestment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
` (§..S..d€fi'l§¢!jm -__S-WC-V§.Soe'§)

   

l:l |nvestmen

    

C. NA|CS (North American industry Classincation System) 4-digit code that best describes debtor.
See http:{[www.naics.com[searchl.

 

8. Under which chapter of the Check one:
Bankruptcy Code is the n Chapter 7

Debtor filing?
El Chapter 9
- Chapter 1 1 . Check all that apph/:
l:l Debtor's aggregate noncontingent liquidated debts (exc|uding debts owed to insiders or affiliates) are
less than $2,490,925(amount subject to adjustment on 4/01/16 and every three years after that).

El The debtor is a small business debtor as defined in 11 U.S.C. § 101 (51D). |f the debtor is a small
business debtor, attach the most recent balance sheet, statement of operation, cash-flow statement,

and federal income tax return or if all of these documents do not exist, follow the procedure in 11
U.S.C. § 1116(1)(B).

A plan is being filed with this petition.

El|:l

Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).

The debtor is required to file periodic reports (for examp|e, 10K and 1OQ) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
attachment to Voluntary Petition for Non-Indivlduals Filing for Bankruptcy under Chapter 11 (Official
Form 201 A) with this form.

I:l The debtor is a shell company as defined in the Securities Exchange Act of 1934 Ru|e 12b-2.
El Chapter 12

 

9. Were prior bankruptcy - No_
cases filed by or against the
debtor within the last 8 l:l Yes_
years?

lf more than 2 cases, attach a

Separafe |ist_ District When Case number
`

District When Case number

10. Are any bankruptcy cases - No
pending cr being filed by a
business partner or an |:| Yes_
affiliate of the debtor?

List all cases. |f more than 1, _
attach a separate list Debtor Fle|atlonship to you

District When Case number, if known

 

___

 

Debf°r Transportation Specia|ist Group, |nc.
Name
11. Why is the case filed in Check all that apply:

this district?

l Debtor has had its domicile, principal place of business, or
preceding the date of this petition or for a longer part of such

Case number (ifknawn)

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principal assets in this district for 180 days immediately
180 days than in any other district.

l:l A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

 

12.

Does the debtor own or
have possession of any

real property or personal

property that needs
immediate attention?

-No

m Yes_ Answer below for each property that needs immediate attention Attach additional sheets if needed.

Why does the property need immediate attention? (Check all that apply.)

l'_`l it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

 

l:l it needs to be physically secured or protected from the weather.

l:l it includes perishable goods or assets that could
iivestock, seasonal goods, meat, dairy,

l:l Other

quickly deteriorate or lose value without attention (for example
produce, or securities-related assets or other options).

1

 

Where is the property?

ls the property insured?

UNo

l:\ Yes_ insurance agency

Contact name
Phone

 

Number, Street, City, State & ZlP Code

 

 

 

 

matistica| and administrative information

13.

Debtor's estimation of
available funds

Check one:

l Funds will be available for distribution to unsecured creditors.

l:l After any administrative expenses are paid, no funds will be available to unsecured creditors.

 

14.

Estimated number of
creditors

l 1-49

ill 50-99
El 1 00-1 99
L'.i 200-999

i:i 1,000-5,000
iZi 5001 -10,000
Ei 10,001-25,000

lIl 25,001-50,000
Ei 50,001-100,000
l:i More than100,000

 

15.

Estimated Assets

El $0 - $50,000

iIi $50,001 - $100,000
ij $100,001 - $500,000
l $500,001 - $1 million

lZl $1,000,001 - $10 million

Ei $10,000,001 - $50 million
lZ] $50,000,001 - $100 million
El $100,000,001 - $500 million

Ei $500,000,001 - $1 billion

lIl $1,000,000,001 - $10 billion
L`.i $10,000,000,001 - $50 billion
l:l More than $50 billion

 

16.

Estimated liabilities

Ei $0 - $50,000
iZi $50,001 - $100,000
Ei $100,001 - $500,000

l $500,001 - $1 million

El $1,000,001 - $10 million

El $10,000,001 - $50 million
Ei $50,000,001 - $100 million
El $100,000,001 - $500 million

lIl $500,000,001 - $1 billion

i:i $1,000,000,001 - $10 billion
ij $10,000,000,001 ~ $50 billion
i:l More than $50 billion

 

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Debt°f Transportation Specia|ist Group, |nc.

Name

-Bequest for Reiief, Dec|aration, and Signature

Case number (if known)

 

WARN|NG -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment
for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
of authorized
representative of debtor

X /s/ Wayne Flowe

The debtor requests relief in accordance with the chapter of title

l have been authorized to file this petition on behalf of the debtor.

11, United States Code, specified in this petition.

l have examined the information in this petition and have a reasonable belief that the information is trued and correct.

i declare under penalty of perjury that the foregoing is true and correct.

Executed on March 2, 2016

MM / DD /
Signature of authorized representative/of debtor

Tit|e President

bYA/& Wayne Ftowe

Printed name

 

18. Signature of attorney

X /s/ Stan Ftiskin

 

Signature of attorney for debtor

Stan Riskin
Printed name

Advangwa Group, P.A.

Firm name

950 S Pine island Rd Ste A150
Fort Lauderdaie, FL 33324-3918
Number, Street, City, State & ZlP Code

Contact phone (954) 727-8271 Emaii address

1291 06
Bar number and State

Date March 2, 2016
MM/ DD/YYYY

 

stan.riskin@gmai|.com

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Fi|i in this information to identify the case:

Debtor name Transportation Specia|ist Group, inc.

SOUTHERN DlSTRiCT OF FLOFi|DA, FORT LAUDERDALE
United States Bankruptcy Court for the: D|VlS|ON

Case number (if known)

 

g Check if this is an
amended filing

 

 

Oflicial Form 2068um
Summary of Assets and Liabiiities for Non-lndividuais

 

 

 

 

 

 

 

 

 

 

 

1 2/1 5
_Summary of Assets
1 . Schedule A/B: Assets-Fleal and Personal Property (Official Form 206A/B)
1a. Real property:
Copy line 88 fromSchedu/e A/B ............................................................................................................................ $ °~0°
1b. Total personal property:
copy line 91A fromschedule A/B ........................................................................................................................ $ °-°°
1c. Total of ali property:
Copy line 92 fromSchedu/e A/B .......................................................................................................................... $ °'oo
mmmary of Liabiiities
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206 D)
Copy the total dollar amount listed in Column Aélmount of claim, from line 3 ofSchedu/e D .................................... $ 771,982-°2
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
3a. Total claim amounts of priority unsecured claims:
Copy the total claims from Part 1 from line 5a oSchedu/e E/F. ........................................................................ $ o-°o
3b. Total amount of claims of nonpriority amount of unsecured claims:
Copy the total of the amount of claims from Part 2 from line 5b chhedu/e E/F. ............................................... +$ o-°o
4. Total liabilities .......................................................................................................................................................
Lines 2 + 3a + 3b $ 771 ,982.02
Officia| Form 2068um Summary of Assets and Liabiiities for Non-|ndividua|s page 1

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Fill in this information to identify the case:

Debtor name Transportation Specia|ist Group, |nc.

SOUTHERN DlSTR|CT OF FLOR|DA, FOFlT LAUDERDALE
United States Bankruptcy Court for the: DlV|S|ON

Case number (if known)

 

[| Check if this is an
amended filing

 

 

Oflicial Form 202
Dec|aration Under Pena|ty of Perjury for Non-lndividua| Debtors 12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form
for the schedules of assets and |iabi|ities, any other document that requires a declaration that is not included in the document, and any

amendments of those documents. This form must state the individua|’s position or relationship to the debtor, the identity of the document, and
the date. Bankruptcy Ruies 1008 and 9011.

WARN|NG -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in

connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
and 3571.

-Declaration and signature

l am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
serving as a representative of the debtor in this case.

l have examined the information in the documents checked below and l have a reasonable belief that the information is true and correct:

Schedule A/B: Assets-Real and Personal Property(Official Form 206A/B)
Schedule D: Creditors Who Have Claims Secured by Property(Official Form 206D)
Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
Schedule H: Codebtors (Official Form 206H)

Summary of Assets and Liabiiities for Non-lndividuals (Official Form 2068um)
Amended Schedule

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not insiders (Ofiiciai Form 204)
Other document that requires a declaration /\
/

 

nmmmmmmmm

 

l declare under penalty of perjury that the foregoing is true and correct.

Executed On March 2, 2016 X /s/ Wayne Rowe k w
Signature of individual signing on behalf of btor

Wayne Rowe
Printed name

President
Position or relationship to debtor

Case 16-13048-RBR Doc 1 Filed 03/02/16 Page 7 of 10

Fill in this information to identify the case:

Debtor name

Transportation Specia|ist Group, |nc.

SOUTHERN D|STFl|CT OF FLOFl|DA, FORT LAUDERDALE

United States Bankruptcy Court for the: D|V|SlON

Case number(if known)

 

g Check if this is an
amended filing

 

 

Officiai Form 206D
Schedule D: Creditors Who Have Claims Secured by Property

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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12/1 5
Be as complete and accurate as possib|e.
1. Do any creditors have claims secured by debtor's property?
i:i No. Check this box and submit page 1 ofthis form to the court with debtor's other schedulesl Debtor has nothing else to report on this form.
i:i Yes. Fill in all of the information below.
mcreditors Who Have Secured Claims b
2. List in alphabetch order all creditors who have seei.~lt'ed claims ita creditor has more than one secured Column A Column 8
ciaim, list the creditor separately for each clalm. " ` Amount ct claim Value ct collateral
that supports this
Do not deduct the value claim
1 * of collateral_.
Andrew J. Winkier &
' Caro|e |_ Wink|er Describe debtor's property that is subject to a lien $526,982-02 $634,990-00
C'edif°"S Name First Mortgage on property at: 2170 Blount
Road, Pompano Beach, FL 33069
4030 W Pa|m Aire Dr Apt
504
Pompano Beach, FL
33069-41 69
Creditor's mailing address Describe the lien
is the creditor an insider or related party?
m No
Creditol‘s email address, if known |:j Yes
is anyone else liable on this claim?
Date debt was incurred |:l NQ
ij Yes. Fill out Schedule H.' Codebtors (Official Form 206H)
Last 4 digits of account number
Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check ali that apply
E No |:l Contingent
l:| Yes. Specify each creditor, [:| Un"quidated
including this creditor and its relative |:l Disputed
priority.
3. City of Pompano Beach,
F|orida
1. Andrew J. Winkier &
Carole i. Winkier
2. Bank of Lake Miils
I2.2 l Bank of Lake Miils Describe debtor's property that is subiecno alien $125,000.00 $634,990.00
C'€d“°"S Name Second Mortgage on property at: 2170
Blount Road, Pompano Beach, FL 33069
136 E Madison St
Lake Miils W| 53551-1644
Creditor's mailing address Describe the lien
is the creditor an insider or related party?
l:l No
Creditor's email address, if known [l Yes
is anyone else liable on this claim?
Ofliciai Form 206D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 2

Debtor

Case 16-13048-RBR Doc 1 Filed 03/02/16 Page 8 of 10

Name

Date debt was incurred

Last 4 digits of account number

Transportation Specia|ist Group, |nc.

 

Do multiple creditors have an
interest in the same property?

[lNo

|:l Yes. Specify each creditor,
including this creditor and its relative
priority.

3. City of Pompano Beach,
F|orida

1. Andrew J. Winkier &
Carole l. Winkier

2. Bank of Lake Miils

l:iNo

Case number tr know)

 

ij Yes. Fill out Schedule H: Codebtors (Official Form 206H)

As of the petition filing date, the claim is:
Check all that apply

U Contingent
[] Unliquidated

E Disputed

 

 

2.3

 

 

City of Pompano Beach,
F|orida

 

Creditor's Name

100 W At|antic B|vd Ste
420

Pompano Beach, FL
33060-6099

Creditor's mailing address

Describe debtor's property that is subject to a lien

Lien on property at 2170 Blount Road,
Pompano Beach 33069

$120,000.00

$634,990.00

 

 

Describe the lien

 

 

Creditors emaii address, if known

Date debt was incurred

Last 4 digits of account number

 

Do multiple creditors have an
interest in the same property?

|:lNo

D Yes. Specify each creditor,
including this creditor and its relative
priority.

3. City of Pompano Beach,
F|orida

1. Andrew J. Winkier &
Carole i. Winkier

2. Bank of Lake Miils

is the creditor an insider or related party?

ENo

|:i Yes
is anyone else liable on this claim?

|:lNo

|] Yes. Fill out Schedule H: Codebtors (Official Form 206H)

As of the petition filing date, the claim is:
Check all that apply

|:i Contingent
l:] Unliquidated

m Disputed

 

3. Total ot:the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.

mothers to Be Notified for a Debt Aiready Listed in Part 1

List irl alphabetical order any others who must be notified for a debt alread
assignees of claims listed above, and attorneys for secured creditors.

lt no others need to,notified for t

Ofiicial Form 206D

blame and address

he debts listed in Part 1, do not fill out or submit this page. if addition

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$771 ,982.02

0n which line in Part `1. did you
enter the related creditor?

Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property

al pages are needed, copy this page.

y listed in Part 1. Examples of entities that may be listed are collection agencies,

Last 4 digits ot
account number for

this entity

page 2 of 2

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United States Bankruptcy Court
Southern District of Florida, Fort Lauderdale Division

IN RE: Case No.

Transportation Specia|ist Grcigp, |nc. Chapter 11
Debtor(s)

 

 

VERIFICATION OF CREDITOR MATRIX

The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge

Date: March 2, 2016 Signature: /s/ Wgyne Howe Q-/A °-L- U'?<-J`

Wayne Fiowe, President‘/ J Debtor

Date: Signature:

 

Joint Debtor, if any

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Andrew J. Winkler & Carole I. Winkler
4030 W Palm Aire Dr Apt 504
Pompano Beach, FL 33069-4169

Bank of Lake MillS
136 E Madison St
Lake Mills, WI 53551-1644

City Of Pompano Beach, Florida
100 W Atlantic Blvd Ste 420
Pompano Beach, FL 33060-6099

